

Matter of McGuire (2022 NY Slip Op 05577)





Matter of McGuire


2022 NY Slip Op 05577


Decided on October 6, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:October 6, 2022

PM-169-22
[*1]In the Matter of Kyle Sellers McGuire, an Attorney. (Attorney Registration No. 5461009.)

Calendar Date:October 3, 2022

Before:Lynch, J.P., Clark, Pritzker, Ceresia and McShan, JJ.

Kyle Sellers McGuire, Signal Mountain, Tennessee, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Kyle Sellers McGuire was admitted to practice by this Court in 2016 and lists a business address in Chattanooga, Tennessee with the Office of Court Administration. McGuire now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose McGuire's application.
Upon reading McGuire's affidavit sworn to August 22, 2022 and filed September 12, 2022, and upon reading the September 28, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that McGuire is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Pritzker, Ceresia and McShan, JJ., concur.
ORDERED that Kyle Sellers McGuire's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Kyle Sellers McGuire's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Kyle Sellers McGuire is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and McGuire is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Kyle Sellers McGuire shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








